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       EXHIBIT 6
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      IN THE CIRCUIT COURT FOR HOWARD CO UNTY, MARYLAND

                                                         *
  FUTURE FIELD SOLUTIONS, LLC, et al.,
                                                         *
         Plaintiffs/Counterclaim-Defendants,
                                                         *
                v.                                           Case No. C-13-CV-22-000581
                                                         *
  ERIK VAN NORSTRAND,
                                                         *
         Defendant/Counterclaim-Plaintiff.
                                                         *
     *      *        *   *   *    *     *      *     *       *   *    *   *     *     *     *    *

         PLAINTIFFS’ OPPOSITION TO DEFENDANT’S MOTION TO COMPEL

         Plaintiffs FUTURE FIELD SOLUTIONS, LLC (“FFS” or the “Company”), STEVEN

REESE (“Reese”), JAMES C. BRENT, SR. (“Brent”) and BRIAN TUNSON (“Tunson”), by and

through counsel, collectively submit this Opposition to Defendant Erik Van Norstrand’s Motion

to Compel, filed on March 14, 2023.

                                            OVERVIEW

         Defendant’s Motion to Compel raises issues that (1) were either resolved long before the

Motion was filed (the requested bank statements were produced); or (2) are clearly not relevant to

the issues in this case (because they concern later-occurring events unrelated to the current claims

or counterclaims). Knowing all that, Defendant elected to file his Motion anyway, and in the

process, packed his Motion with disputed facts, misrepresentations, and outright fabrications. As

explained in detail below, Defendant’s Motion should be denied in all respects.

                         DEFENDANTS’ “FACTUAL” BACKGROUND

         Defendant’s story about forming FFS in 2010 and 2012 is not relevant to the pending

Motion or to this case generally. It is also irrelevant and factually incorrect to suggest that the




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current version of FFS is, or was, Defendant’s company or that he ever was a majority owner.

After previous versions of the Company had gone out of business, the Company re-formed in 2020

with Reese being the majority owner and with Brent and Defendant being minority owners. The

current version of the Company is the only relevant version in this case.

       It is wildly irresponsible, and an irrelevant mischaracterization at best, for Defendant to

state that after the Company had been operating for approximately two years, the individual

Plaintiffs “orchestrated a classic involuntary and improper squeeze-out of [Defendant] from the

Company in direct violation of the controlling and binding terms of the Company’s Operating

Agreement.” (Mot. at 3.) That is not what happened. Defendant was involuntarily withdrawn from

the Company, in a manner at least arguably consistent with the Operating Agreement, following a

series of events that highlighted certain problematic behaviors by Defendant. This litigation was

initiated, not because Defendant disputed the fact that the individual Plaintiffs took action to

remove him from the Company, but because Defendant refused to acknowledge that he had been

properly removed. Thus, the parties’ dispute concerns an interpretation of the relevant provisions

of the Company’s Operating Agreement as well as Maryland LLC law. The actual facts

surrounding Defendant’s withdrawal are not disputed. 1 Defendant’s characterization of those facts,

however, is strongly disputed, and Defendant should not have presented his version of the facts in

such a misleading manner.

       Pursuant to the Operating Agreement, Defendant is due a certain amount of money after

being withdrawn, based on the value of his interests in the Company at the time. The parties have

agreed to let an independent business valuation expert determine that value. The business valuation




1
  Accordingly, Defendant’s counsel has agreed that Plaintiffs’ declaratory judgment claim is ripe
for summary judgment.


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process is underway, and all relevant financial documents will be provided to the valuation expert

as soon as the Company’s CPA firm closes its 2022 books, which will be completed soon. This

agreement concerning the production of financial documents is not disputed and both parties have

indicated that they will cooperate in the valuation effort.

       Defendant’s statements about how the individual Plaintiffs “have basically run the

company into the ground” are also not relevant to this Motion. They are also gross

misrepresentations not deserving any further comment here.

       The only facts that are truly relevant to the present Motion concern Plaintiffs’ production

of bank statements and tax returns. But those statements have already been produced. The

remaining facts concern some of the individual Plaintiffs’ alleged communications with certain

Government contractors concerning Defendant’s allegedly fraudulent representations. However,

those communications are not relevant to this litigation, because they occurred long after the

Claims and Counterclaims in this case were filed. They have no bearing on the present disputes.

                                           ARGUMENT

I.     Bank Statements.

       As summarized above, the parties agreed relatively early in the litigation to hire a business

valuation expert to determine the value of FFS on two (2) dates: March 22, 2022 (the date when

Defendant was withdrawn); and December 31, 2022 (the end of the Company’s fiscal year). The

valuation expert was retained on December 21, 2022, and the parties agreed that every document

or communication shared with the valuation expert would be produced in discovery. That

agreement has not changed.

       However, on approximately March 1, 2023, Defendant’s counsel asked Plaintiffs to

produce “the financial documents we have requested … such as bank statements or tax




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documents.” (Def’s. Mot., Ex. 4 at 25 (email dated Mar. 1, 2023).) That request began a chain of

arguments between counsel about whether the Company’s financial documents were to be

produced when they were transmitted to the valuation expert – as the parties had discussed – or

whether they should be produced immediately. (See, e.g., id. at 23 (“Financial documents will be

produced when the company’s CPAs finish their work and the documents are sent to [the expert]”.)

After several days of back-and-forth exchanges of emails, Plaintiffs produced the Company’s

2020, 2021, and 2022 bank statements, as well as the Company’s 2020 and 2021 tax return. (See,

e.g., id. at 5 (“Attached is a new confidential production containing a set of 2022 statements from

FFS’s checking account xxx5705. I believe the first 3 statements are duplicative of statements we

already produced.”)

       Defendant’s counsel neglected to inform the Court that, seven (7) days before Defendant

filed his Motion to Compel on March 14, 2023, Plaintiffs had produced all Company bank

statements and tax returns that Defendant had requested. (See Exhibits 1-3 (producing Company

bank statements and tax returns on March 7, 2023.).)

       After Defendant filed his Motion to Compel, Defendant’s counsel informed Plaintiffs that

FFS had a savings account from which statements must be produced. The undersigned investigated

and learned that FFS did indeed have a savings account, but its contents did not substantively affect

the financial state of the Company and the CPAs had not been interested in it. Nevertheless,

Plaintiffs produced statements from that savings account within a few days. (See Exhibit 4

(producing savings account statements).)

       Plaintiffs accordingly believe that all responsive financial documents requested by

Defendant have been produced, and therefore Defendant’s Motion to Compel production of these




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documents was totally unnecessary and a waste of the Court’s time. The undersigned repeatedly

reassured Defendant’s counsel that they would be produced, and they were.

II.    Lockheed Martin Communications.

       The remainder of Defendant’s Motion to Compel seeks communications with Lockheed

Martin concerning Defendant’s qualifications. However, those communications took place many

months after this litigation began. They are therefore not relevant to any matter currently before

the Court and will not lead to the discovery of admissible evidence. Moreover, Defendant has

issued no discovery requests concerning these topics. Specifically, Defendant has propounded no

discovery requests seeking post-litigation communications between the Plaintiffs on the one hand,

and either the U.S. Government or any government contractors with whom FFS did business on

the other hand. This portion of Defendant’s Motion to Compel is therefore a fishing expedition

without any basis, and it should not be permitted.

       For context: One of the reasons the individual Plaintiffs involuntarily withdrew Defendant

from FFS was that Defendant appeared to have lied about his qualifications on certain resumes.

Lying on resumes can be a career-ending problem for FFS employees and members because the

Company does business with the U.S. Government on contracts for which high-level security

clearances are required. In that kind of business, truthfulness is extremely important. When the

individual Plaintiffs involuntarily withdrew Defendant from the Company, information they knew

at that time about Defendant’s lying is relevant to this case. But once Defendant was withdrawn,

any information they subsequently uncovered about Defendant’s lying, and/or any required actions

they may have taken to report that lying to the Government, are not relevant to their earlier

decision. Nor could any such information lead to the discovery of evidence that might be relevant

to that earlier decision. Timing is everything when it comes to Plaintiffs’ decision to withdraw

Defendant from the Company. After-occurring evidence simply does not shine any light on the


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knowledge that the Plaintiffs had in their possession when they made their decision on March 22,

2022. And none of that information helps Defendant prove or disprove any of his Counterclaims.

Therefore, this portion of Defendant’s Motion to Compel must also be denied.

III.   Protected Information.

       FFS has been instructed that certain information about its work on U.S. Government

contracts – including the identity of government customers, project names, and especially any

subject matter, whether a responsive document is marked Classified or is otherwise identified as

Controlled Unclassified Information (“CUI”) or For Official Use Only (“FOUO”) – cannot be

disclosed without Government permission, even if the information is unclassified. FFS is therefore

quite reluctant to produce any such documents without appropriate permissions and safeguards,

especially when the documents are so far removed from the subjects at issue in the present case

and when the discovery requests are so broad and not limited to specific subject matter, time, place,

or participants. Moreover, none of the information about FFS’s communications with the

Government or its contractors concerns any issue currently before the Court. To the extent the

Court finds otherwise and rules that protected information must be produced, Plaintiffs respectfully

ask the Court to require Defendant to narrow his discovery requests significantly, in order to avoid

overbreadth and to allow for proper collection and review, including review by the Government.

Plaintiffs also respectfully ask the Court to allow sufficient time for the Government to provide

appropriate advice and counseling and to work with the parties and the Court to produce all

relevant information while simultaneously respecting the Government’s interests in protecting its

sources and methods, as well as other categories of protected information.

IV.    Proposal to Simplify Discovery and the Entire Case.

       To help simplify discovery and to guide the Court’s ruling concerning the present Motion

to Compel, Plaintiffs have offered a proposal to Defendant to bifurcate or partition the case into


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two logically separate phases. Such a partition would greatly simplify discovery and would further

streamline the legal issues before the Court as well. The first phase would focus on resolving the

declaratory judgment claims brought by Plaintiffs and Defendant. Those claims concern whether

Defendant was properly withdrawn from the Company on March 22, 2022 and is still a member.

That issue, the parties have agreed, can be resolved on Summary Judgment. No further discovery

should be required. If Plaintiffs prevail on that issue, every other Counterclaim filed by Defendant

would likely fail as a matter of law and the case would essentially be over, other than a financial

accounting of the Company, which would likely be completed by the business valuation expert

and require no further litigation.

       On the other hand, if Defendant prevails and he becomes a member of the Company again,

then he would likely have direct access to the documents at issue, and all discovery disputes would

be minimized. At the same time, Defendant’s remaining Counterclaims would be more focused

because the parties would better understand their respective legal positions vis-à-vis each other.

       As it stands now, all discovery relating to Defendant’s remaining Counterclaims is

conditioned on a hypothetical premise of Defendant’s membership in the Company, which

encourages discovery requests to be much broader than they need to be. Plaintiffs contend that it

makes very little sense to conflate these two very different worlds unless it is absolutely necessary.

The membership withdrawal question logically precedes everything else. It should go first. No

party would be prejudiced by this kind of bifurcation. And all parties would benefit by being able

to focus on their actual disputes, in the order in which they logically follow.

       Thus, given the sensitive nature of producing government-protected information, as well

as the cost of that discovery effort combined with the fact that such information is far outside the

relevance boundary of the parties’ Claims and Counterclaims filed thus far, if the Court is inclined




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to grant Defendant’s request for the protected information, Plaintiffs ask the Court to bifurcate the

case so the question of whether Defendant was properly withdrawn from the Company can be

resolved first, on Summary Judgment.2 If Defendant prevails on that issue, the case can continue

on the remaining Counterclaims. If Plaintiffs prevail, the case should be essentially over.

                                           CONCLUSION

          For all the reasons given above, Defendant’s Motion to Compel is patently unsound and

should be denied in its entirety; and if necessary, the case should be bifurcated to resolve Plaintiffs’

Claim first, and then the parties can litigate any remaining Claims and/or Counterclaims.


                                                     Respectfully submitted,



    Dated:     March 28, 2023                         /s/ Seth C. Berenzweig
                                                     Seth C. Berenzweig, Esq. (Atty No: 9801120001)
                                                       sberenzweig@berenzweiglaw.com
                                                     Clyde E. Findley, Esq. (admitted pro hac vice)
                                                       cfindley@berenzweiglaw.com
                                                     BERENZWEIG LEONARD, LLP
                                                     8300 Greensboro Drive, Suite 1250
                                                     McLean, Virginia 22102
                                                     Telephone: (703) 760-0402
                                                     Facsimile: (703) 462-8674

                                                     Counsel for Plaintiffs




2
    Of course, Plaintiffs would naturally expect to file an appropriate Motion to Bifurcate.


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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 28th day of March 2023, a copy of the foregoing was

served via the Court’s MDEC System and/or mail, postage prepaid, on the following individual(s):

 Glenn C. Etelson, Esq.
   getelson@shulmanrogers.com
 Lane Hornfeck, Esq.
   lhornfeck@shulmanrogers.com
 12505 Park Potomac Avenue, 6th Floor
 Potomac, MD 20854
 (301) 230-5200 (telephone)
 (301) 230-2891 (facsimile)

 Counsel for Erik Von Norstrand




                                                  /s/ Clyde E. Findley
                                                 Clyde E. Findley
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                      EXHIBIT 1
        Case 1:23-cv-01301-DKC Document 42-5 Filed 07/26/23 Page 12 of 29


From:           Clyde Findley
To:             Lane Hornfeck
Cc:             Seth Berenzweig; Glenn Etelson; Colleen Cornatzer; Victoria Tinker; Michelle DiCarlo
Subject:        Re: FFS -- Document Production (FFS006, FFS007) - Discovery Dispute and Designation of FFS Docs as Privileged
                and Confidential
Date:           Tuesday, March 7, 2023 5:48:23 AM
Attachments:    image001.png
                image002.png
                image003.png
                image004.png
                image005.png
                image006.png
                image007.png
                FFS008.zip



Lane,

Attached is a new confidential production containing a set of 2022 statements from FFS’s
checking account xxx5705. I believe the first 3 statements are duplicative of statements we
already produced.

I have also received 2022 statements from another checking account. However, I need to
redact the account number from those statements before producing them, and I do not have
access to my redaction tool at home, which is where I am now. I will be in an intensive CLE all
day today, but I plan to go to the office afterwards to perform the redactions and produce
those statements this evening.

Based on the CLE agenda, it looks like the best time to talk will be from 12:30 until 1:45
(lunch). Short 15-minute breaks are scheduled to occur at 10:00, 11:00, 3:00, and 4:30.
Around 6:00, I plan to drive to the office, so we could talk then too.

I do not yet have FFS’s 2021 tax return. I hope to receive it today, so I can produce it tonight.

My understanding is that the issues you would raise in a Motion to Compel are focused on the
2022 bank statements and the 2021 tax return. Hopefully, we will produce all of those
documents by the end of today. If something goes wrong, we still intend to produce them as
soon as possible. We are not withholding anything.

To the extent your Motion would also include a discussion of privileged material, that is a new
issue, not a time-critical issue worth bringing to the court’s attention now, and not an issue
that we have had a chance to fully consider and address. However, just for discussion, we
noticed a 2012 4th Circuit case called United States v. Hamilton, which seems to support the
idea that marital privilege is not preserved when a person uses an office computer to send
and receive email. FFS informs us that Mr. Van Norstrand intentionally uploaded his personal
email data to the company’s Office 365 account and gave at least two of the members
(Messrs. Brent and Reese) administrative privileges to that account.
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Finally, we believe FFS has a company policy informing everyone in the company that all
information stored on company computers or in company accounts can be inspected and is
not to be considered private. (Note that we believe FFS is required to have such a policy.) FFS
believes this policy was one of 800+ documents that Mr. Van Norstrand improperly deleted
from a company account after he was terminated. Nevertheless, FFS believes that it may be
able to recover that policy. I have not received it yet, but when I do, if it is responsive to your
request, we will produce it immediately.


-Clyde

Clyde Findley
BERENZWEIG LEONARD LLP
main: 703.760.0402 • direct: 703.574.9140
fax: 703.462.8674 • cell: 703.209.9359




From: Lane Hornfeck <LHornfeck@shulmanrogers.com>
Date: Monday, March 6, 2023 at 7:01 PM
To: Clyde Findley <cfindley@berenzweiglaw.com>
Cc: Seth Berenzweig <sberenzweig@berenzweiglaw.com>, Glenn Etelson
<GEtelson@shulmanrogers.com>, Colleen Cornatzer <CCornatzer@shulmanrogers.com>,
Victoria Tinker <VTinker@shulmanrogers.com>, Michelle DiCarlo
<MDiCarlo@shulmanrogers.com>
Subject: RE: FFS -- Document Production (FFS006, FFS007) - Discovery Dispute and
Designation of FFS Docs as Privileged and Confidential

Good evening. Am still in this depo. Am in another depo tomorrow but will reach out and try
to find a time to connect.

Best Regards,


LANE MILLS HORNFECK
SHAREHOLDER I COMMERCIAL LITIGATION
LHornfeck@shulmanrogers.com I T (301) 945-9276 I F (301) 230-2891 I C (240) 565-2220
12505 PARK POTOMAC AVENUE, 6TH FLOOR, POTOMAC, MD 20854
*Licensed in Maryland, Washington, D.C., and Hawaii

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From: Clyde Findley <cfindley@berenzweiglaw.com>
Sent: Monday, March 6, 2023 5:10 PM
To: Lane Hornfeck <LHornfeck@shulmanrogers.com>
Cc: Seth Berenzweig <sberenzweig@berenzweiglaw.com>; Glenn Etelson
<GEtelson@shulmanrogers.com>; Colleen Cornatzer <CCornatzer@shulmanrogers.com>; Victoria
Tinker <VTinker@shulmanrogers.com>; Michelle DiCarlo <MDiCarlo@shulmanrogers.com>
Subject: RE: FFS -- Document Production (FFS006, FFS007) - Discovery Dispute and Designation of
FFS Docs as Privileged and Confidential


Lane,


I am busy too... I will be leaving the office at 5:15 and driving for about one hour. Please feel
free to call my cell phone then. After about 6:30, I turn into a pumpkin with other
commitments.

Tomorrow and most of Wednesday I have to be in a 2-day CLE. I can be interrupted, though.

Tuesday morning, I will be driving to the CLE for about one hour, from 7:00 until 8:00. You can
call me then. Same for Wednesday morning.


-Clyde

Clyde Findley
BERENZWEIG LEONARD, LLP
Main: 703-760-0402 I Direct: 703-574-9140 I Mobile: 703-209-9359

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From: Lane Hornfeck <LHornfeck@shulmanrogers.com>
Sent: Monday, March 6, 2023 4:52 PM
To: Clyde Findley <cfindley@berenzweiglaw.com>
Cc: Seth Berenzweig <sberenzweig@berenzweiglaw.com>; Glenn Etelson
<GEtelson@shulmanrogers.com>; Colleen Cornatzer <CCornatzer@shulmanrogers.com>; Victoria
Tinker <VTinker@shulmanrogers.com>; Michelle DiCarlo <MDiCarlo@shulmanrogers.com>
Subject: RE: FFS -- Document Production (FFS006, FFS007) - Discovery Dispute and Designation of
FFS Docs as Privileged and Confidential


Clyde —


Thanks. I am still in a deposition. Am glad to set a time that works for us both. Send me
options for your availability. I can try this evening as well.


Best Regards,


LANE MILLS HORNFECK
SHAREHOLDER I COMMERCIAL LITIGATION
LHornfeck@shulmanrogers.com I T (301) 945-9276 I F (301) 230-2891 I C (240) 565-2220
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*Licensed in Maryland, Washington, D.C., and Hawaii

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From: Clyde Findley <cfindley@berenzweiglaw.com>
Sent: Monday, March 6, 2023 4:41 PM
To: Lane Hornfeck <LHornfeck@shulmanrogers.com>
        Case 1:23-cv-01301-DKC Document 42-5 Filed 07/26/23 Page 16 of 29

Cc: Seth Berenzweig <sberenzweig@berenzweiglaw.com>; Glenn Etelson
<GEtelson@shulmanrogers.com>; Colleen Cornatzer <CCornatzer@shulmanrogers.com>; Victoria
Tinker <VTinker@shulmanrogers.com>; Michelle DiCarlo <MDiCarlo@shulmanrogers.com>
Subject: RE: FFS -- Document Production (FFS006, FFS007) - Discovery Dispute and Designation of
FFS Docs as Privileged and Confidential

Lane,

I am back in the office. I just left you a voicemail. Please call me at your earliest convenience. If
it’s after 5:00, please call my cell.

-Clyde

Clyde Findley
BERENZWEIG LEONARD, LLP
Main: 703-760-0402 | Direct: 703-574-9140 | Mobile: 703-209-9359

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any of its attachments to others. Instead, immediately notify the sender by replying to this email and then delete it from your system. We
strictly prohibit any unauthorized disclosure, copying, distribution or use of emails or attachments sent by us.



From: Lane Hornfeck <LHornfeck@shulmanrogers.com>
Sent: Monday, March 6, 2023 2:36 PM
To: Clyde Findley <cfindley@berenzweiglaw.com>
Cc: Seth Berenzweig <sberenzweig@berenzweiglaw.com>; Glenn Etelson
<GEtelson@shulmanrogers.com>; Colleen Cornatzer <CCornatzer@shulmanrogers.com>; Victoria
Tinker <VTinker@shulmanrogers.com>; Michelle DiCarlo <MDiCarlo@shulmanrogers.com>
Subject: RE: FFS -- Document Production (FFS006, FFS007) - Discovery Dispute and Designation of
FFS Docs as Privileged and Confidential

Clyde –

I am glad to get on a call to talk through this and encourage us to make time to do so, but
please understand that I have given you documents (please scroll down in this string) from
your own production confirming that your clients accessed our client’s legacy Google account.
We understand that the company migrated to Microsoft 360 in 2021 and Mr. Van Norstrand
retained control of the Google account thereafter – as he originally established in 2014.
Approximately 3 months ago, someone cutoff Mr. Van Norstand’s access to the Google
account and we presume it was your clients.

Even if the Company had access to Mr. Van Norstrand’s emails pre-dating the current
formation of the Company in 2020, that does not mean he waived his expectation of privacy
or privilege in those documents. Many of the documents you have produced and your clients’
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accessed in search for support for their actions clearly showed on the face of the documents
that they were dated from many years before the Company even formed. It appears that
neither you nor they even considered these issues before searching through the documents
and then producing them to the extent you/your office did not even mark them confidential,
including financial and personal health information of Defendant and his wife.

We are affirmatively telling you neither Mr. Van Norstrand nor his wife waived his or her
expectation of privacy in privileged and/or confidential communications — and we notified you
immediately upon seeing them in your production — and the burden now shifts to you to show
how he or she waived that expectation, privacy or privilege.

I have asked you multiple times to show us agreements and/or policies to which Mr. Van
Norstrand agreed or consented to such a waiver regarding his property, privacy and/or
privilege, and you have failed to provide them — pointing only to the operating agreement
without even a section reference. Our review of the operating agreement does not provide
any provision addressing these issues. If we have missed it, please let us know. Likewise, if you
have some other document or case law or anything that supports your position, please
provide it to us so that we may consider it.

Otherwise, we will be forced to file the appropriate motion with the Court to protect the
privileged and confidential documents and information. We look forward to hearing from
you.

Best Regards,

LANE MILLS HORNFECK
SHAREHOLDER I COMMERCIAL LITIGATION
LHornfeck@shulmanrogers.com I T (301) 945-9276 I F (301) 230-2891 I C (240) 565-2220
12505 PARK POTOMAC AVENUE, 6TH FLOOR, POTOMAC, MD 20854
*Licensed in Maryland, Washington, D.C., and Hawaii

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From: Clyde Findley <cfindley(thberenzweiglaw.com>
Sent: Monday, March 6, 2023 1:31 PM
To: Lane Hornfeck <LHornfeck(thshulmanrogers.com>
Cc: Seth Berenzweig <sberenzweigPberenzweiglaw.com>; Glenn Etelson
<GEtelsonPshulmanrogers.com>; Colleen Cornatzer <CCornatzerPshulmanrogers.com>; Victoria
Tinker <VTinkerPshulmanrogers.com>; Michelle DiCarlo <MDiCarlo(@shulmanrogers.com>
Subject: RE: FFS -- Document Production (FFS006, FFS007) - Discovery Dispute and Designation of
FFS Docs as Privileged and Confidential


Lane,

The documents that you wish to assert are privileged are not documents you produced
inadvertently and are now asking to be clawed back. This is an unusual situation where your
client saved documents in company-held accounts available to the members (in their
possession, custody, and/or control), and now, after the members produced those documents
in response to your discovery requests, your client wants to assert a privilege and protect
them. (Absent any evidence otherwise, we reject your claim that our clients improperly
accessed your client's Google account to download his documents.) We are actually doing
what you have suggested: evaluating whether your client's actions may constitute a waiver.
The one exception relates to the documents you have identified that are protected by
attorney-client privilege. We need to make sure the attorney on those communications did
not actually represent the company, which would call into question Mr. Van Norstrand's claim
of privilege. We note that Mr. Van Norstrand's wife is named on at least one email in those
chains, so both issues may be at play there. Please stay tuned. These issues are not as
straightforward as you suggest.

-Clyde

Clyde Findley
BERENZWEIG LEONARD, LLP
Main: 703-760-0402 I Direct: 703-574-9140 I Mobile: 703-209-9359

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From: Lane Hornfeck <LHornfeck@shulmanrogers.com>
      Case 1:23-cv-01301-DKC Document 42-5 Filed 07/26/23 Page 19 of 29

Sent: Monday, March 6, 2023 12:29 PM
To: Clyde Findley <cfindley@berenzweiglaw.com>
Cc: Seth Berenzweig <sberenzweig@berenzweiglaw.com>; Glenn Etelson
<GEtelson@shulmanrogers.com>; Colleen Cornatzer <CCornatzer@shulmanrogers.com>; Victoria
Tinker <VTinker@shulmanrogers.com>; Michelle DiCarlo <MDiCarlo@shulmanrogers.com>
Subject: Re: FFS -- Document Production (FFS006, FFS007) - Discovery Dispute and Designation of
FFS Docs as Privileged and Confidential

Clyde -

Once we have identified privileged documents, you should not be reviewing them or
describing them in emails to others. Please refrain from doing that. The issue of waiver would
be based on how the documents came into your clients’ possession and has nothing to do
with their content. We have asked for company agreements or policies regarding employee
property, privacy and/or confidentiality and you pointed us generically to the operating
agreement which fails to address any of these issues. Please re-familiarize yourself with
Maryland ethical duties in handling privileged and confidential materials of others under Rule
2-402. Your clients’ behavior should not be dictating how your office is handling this data.


Best Regards,
LANE MILLS HORNFECK


SHAREHOLDER | COMMERCIAL LITIGATION
LHornfeck@shulmanrogers.com | T (301) 945-9276 | F (301) 230-2891 | C (240) 565-2220
12505 PARK POTOMAC AVENUE, 6TH FLOOR, POTOMAC, MD 20854
*Licensed in Maryland, Washington, D.C., and Hawaii

Please consider the environment before printing this email.
Apologies for any typos!


      On Mar 6, 2023, at 11:51 AM, Clyde Findley <cfindley@berenzweiglaw.com>
      wrote:


      Lane,

      This is in response to the table of documents you asked us to withdraw from
      production:

      Generally speaking, we are very willing to treat as CONFIDENTIAL the documents
Case 1:23-cv-01301-DKC Document 42-5 Filed 07/26/23 Page 20 of 29

you have identified.

As to Mr. Van Norstrand’s claims of spousal privilege, we will have to spend a little
more time evaluating the facts and more specifically determining if Mr. Van
Norstrand may have waived any privilege. Please give us a few days to work this
out.

About FFS0000757-FFS0000762 and FFS0000794-FFS0000809: It appears that
these communications with an attorney and possibly Mr. Van Norstrand’s wife
concern matters relating to his work for FFS and therefore may not be privileged
at all. Can you shed a little more light on this? The communications seem to
involve employment or subcontractor issues raised with a company called
“ACNC,” and the communications were sent and received using Mr. Van
Norstrand’s FFS email account. Did Mr. Dansicker represent Mr. Van Norstrand
personally, or was he an attorney for FFS? Further, these emails were found
within company accounts, so nothing about them seems personal. Rather, they
appear to be company-related. We will investigate this issues on our end as well.

Best regards,

-Clyde

Clyde Findley
BERENZWEIG LEONARD, LLP
Main: 703-760-0402 | Direct: 703-574-9140 | Mobile: 703-209-9359

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From: Lane Hornfeck <LHornfeck@shulmanrogers.com>
Sent: Saturday, March 4, 2023 1:05 PM
To: Clyde Findley <cfindley@berenzweiglaw.com>
Cc: Seth Berenzweig <sberenzweig@berenzweiglaw.com>; Glenn Etelson
<GEtelson@shulmanrogers.com>; Colleen Cornatzer
<CCornatzer@shulmanrogers.com>; Victoria Tinker <VTinker@shulmanrogers.com>;
Michelle DiCarlo <MDiCarlo@shulmanrogers.com>
Subject: RE: FFS -- Document Production (FFS006, FFS007) - Discovery Dispute and
Designation of FFS Docs as Privileged and Confidential

Clyde –
Case 1:23-cv-01301-DKC Document 42-5 Filed 07/26/23 Page 21 of 29

I am writing in follow up to your recent 3/3/23 production and to resolve an
ongoing discovery dispute.

Your and/or your clients’ determination that bank statements after March 2022
are not relevant is improper. If we do not receive the April 2022 through present
bank statements from FFS, we will be filing the motion to compel we have started
to prepare. Likewise, the 2021 tax records and communications with the
company’s accountant for 2021 and 2022 also remain missing. As a member of
the LLC, Mr. Van Norstrand has received a K1 for 2021 prepared by the company.
Accordingly, the 2021 k1s for all members should have been prepared and any
communications with the FFS accountant who prepared them – all are
discoverable. If we likewise do not receive these documents by Monday morning,
we will be forced to proceed with the motion to compel.

In addition, attached please find a spreadsheet of the documents FFS produced
that are Van Norstrand’s privileged and/or confidential communications and
should be removed from your production and deleted. In this vein, we have also
learned that my prior position regarding your clients’ accessing an archived pst
file was incorrect. We understand that your clients may have actually accessed
Mr. Van Norstrand’s legacy Google account in order to review and obtain these
documents and information without his permission and apparently in violation of
state and federal common and statutory law involving privacy and electronic data
and accounts.

Indeed, the entirety of FFS Vol 4 of your 2/23/23 production appears to be from
this account. Mr. Van Norstrand hereby designates the entirety of Vol 4 of the
FFS 2/23/23 production as Confidential Discovery Material pursuant to the
agreed upon stipulated protective order and we will be moving for a protective
order to preclude your clients’ use of these materials in this action and beyond.

We also hereby demand that your client cease and desist from using this
information to make negligent and/or intentionally misleading and/or false
reports to any parties about Mr. Van Norstrand. FFS000631 and 813 make
apparent that your clients are behind the report to Lockheed Martin on the
RoadRally Contract and that they accessed Mr. Van Norstrand’s legacy account in
order to do so. Mr. Van Norstrand will seek any and all resulting damages and
fees caused by your clients’ actions to the extent they were done intentionally,
maliciously and without basis – all in order to attempt to gain leverage in this
litigation and to personally harm Mr. Van Norstrand’s long term ability to work in
a secure and/or classified environment.
Case 1:23-cv-01301-DKC Document 42-5 Filed 07/26/23 Page 22 of 29

Please speak with your clients and let me know if they will voluntarily agree to
cease and desist from using the documents and/or information contained in your
Vol 4 production, or if we will be required to proceed with a motion for protective
order.


Please also note, if not obvious to you, that FFS0000631 makes clear that your
clients' clandestine search for a basis for their removal of Mr. Van Norstrand
occurred in and after November 2022 and the documents and information
contained therein were not and could not serve as a basis for improper
attempted removal of Mr. Van Norstrand in March 2022.

To the extent you would like to participate in an in-person or a telephonic and/or
electronic meet and confer regarding, and are genuinely open to discussing, any
of the above, please let me know. I will make myself available.

Best Regards,


LANE MILLS HORNFECK
SHAREHOLDER I COMMERCIAL LITIGATION
LHornfeck@shulmanrogers.com I T (301) 945-9276 I F (301) 230-2891 I C (240) 565-2220
12505 PARK POTOMAC AVENUE, 6TH FLOOR, POTOMAC, MD 20854
*Licensed in Maryland, Washington, D.C., and Hawaii

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A Professional Association




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From: Clyde Findley <cfindley@berenzweiglaw.com>
Sent: Friday, March 3, 2023 3:45 PM
To: Lane Hornfeck <LHornfeck@shulmanrogers.corn>; Glenn Etelson
<GEtelsonPshulmanrogers.com>; Colleen Cornatzer
<CCornatzer@shulmanrogers.com>; Victoria Tinker <VTinker@shulmanrogers.com>
Cc: Seth Berenzweig <sberenzweigPberenzweiglaw.com>
Subject: FFS -- Document Production (FFS006, FFS007)
Case 1:23-cv-01301-DKC Document 42-5 Filed 07/26/23 Page 23 of 29

Lane,

The following links should let you download the following new productions:

    1. FFS006.zip: https://berenzweiglaw.sharefile.com/d-
       s22c111b17dec4eae8e2afd4d9a03fb1f
    2. FFS007.zip: https://berenzweiglaw.sharefile.com/d-
       sba236cf85678417199d9cbab5883d728

FFS006 is a collection of Future Field Solutions’ relevant bank statements.
FFS007 contain documents relating to Future Field Solutions’ 2020 tax return.

All of these documents are marked CONFIDENTIAL.

Best regards,

-Clyde

Clyde Findley
BERENZWEIG LEONARD LLP
8300 Greensboro Drive, Suite 1250
McLean, VA 22102
main: 703.760.0402  direct: 703.574.9140
fax: 703.462.8674  cell: 703.209.9359
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(LawFirm@ShulmanRogers.com). Thank you.
                                                              E-FILED; Howard Circuit Court
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                                  Docket:    07/26/23
                                          3/28/2023      Page
                                                    4:28 PM;   24 of 29 3/28/2023 4:28 PM
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                         EXHIBIT 2
        Case 1:23-cv-01301-DKC Document 42-5 Filed 07/26/23 Page 25 of 29


From:                   Clyde Findley
To:                     Lane Hornfeck
Cc:                     Seth Berenzweig; Glenn Etelson; Colleen Cornatzer; Victoria Tinker; Michelle DiCarlo
Subject:                FFS -- Document Production (FFS0009)
Date:                   Tuesday, March 7, 2023 8:08:00 PM
Attachments:            FFS009.zip



Lane,

Attached is new confidential production containing statements from FFS’s other checking
account plus FFS’s 2022 tax return. As I was processing these documents this evening, I
noticed that the December 2022 bank statement is missing. It was probably an oversight. I will
find out and let you know as soon as possible.

-Clyde

Clyde Findley
Berenzweig Leonard, LLP
Main: 703-760-0402 | direct: 703-574-9140 | Mobile: 703-209-9359

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        Case 1:23-cv-01301-DKC Document 42-5 Filed 07/26/23 Page 27 of 29


From:                   Clyde Findley
To:                     Lane Hornfeck
Cc:                     Seth Berenzweig; Glenn Etelson; Colleen Cornatzer; Victoria Tinker; Michelle DiCarlo
Subject:                RE: FFS -- Document Production (FFS0009)
Date:                   Tuesday, March 7, 2023 8:42:00 PM
Attachments:            FFS010.zip



Lane,

And now here is the December 2022 statement from FFS’s other checking account.

-Clyde

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 Clyde Findley
 Tuesday, March 7, 2023 8:08 PM
 Lane Hornfeck <LHornfeck@shulmanrogers.com>
 Seth Berenzweig <sberenzweig@berenzweiglaw.com>; Glenn Etelson
<GEtelson@shulmanrogers.com>; Colleen Cornatzer <CCornatzer@shulmanrogers.com>; Victoria
Tinker <VTinker@shulmanrogers.com>; Michelle DiCarlo <MDiCarlo@shulmanrogers.com>
 FFS -- Document Production (FFS0009)

Lane,

Attached is new confidential production containing statements from FFS’s other checking
account plus FFS’s 2022 tax return. As I was processing these documents this evening, I
noticed that the December 2022 bank statement is missing. It was probably an oversight. I will
find out and let you know as soon as possible.

-Clyde


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: 703-760-0402 |  703-574-9140 | 703-209-9359

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                         EXHIBIT 4
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From:                   Clyde Findley
To:                     Lane Hornfeck
Cc:                     Seth Berenzweig; Glenn Etelson; Colleen Cornatzer; Victoria Tinker; Michelle DiCarlo
Subject:                FFS - Document Production (FFS012)
Date:                   Friday, March 24, 2023 4:39:00 PM
Attachments:            FFS012.zip



Lane,

Attached is new confidential production containing statements from FFS’s savings account.
There is no separate cash management account.

-Clyde

Clyde Findley
Special Counsel
Berenzweig Leonard, LLP
Main: 703-760-0402 | direct: 703-574-9140 | Mobile: 703-209-9359
8300 Greensboro Drive, Suite 1250, McLean, VA 22102
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